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19
                            UNITED STATES DISTRICT COURT
20                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

21    PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-5146-YGR-SVK
      themselves and all others similarly situated,
22                                                    GOOGLE LLC’S ADMINISTRATIVE
             Plaintiffs,                              MOTION TO SEAL PORTIONS OF
23                                                    GOOGLE’S SUPPLEMENT TO
                                                      ADMINISTRATIVE MOTION FOR
             v.                                       CLARIFICATION OF JUNE 13, 2022
24
                                                      DISCOVERY ORDER (DKT. 700)
25    GOOGLE LLC,
                                                        Judge: Hon. Susan van Keulen, USMJ
26           Defendant.

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 1          I, Jonathan Tse, declare as follows:
 2          1.      I am a member of the bar of the State of California and an attorney at Quinn Emanuel
 3 Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action. I make

 4 this declaration of my own personal, firsthand knowledge, and if called and sworn as a witness, I

 5 could and would testify competently thereto.

 6          2.      Pursuant to Civil Local Rule 79-5, I submit this declaration in support of Google
 7 LLC’s Administrative Motion to Seal portions of Google’s Supplement to Administrative Motion

 8 for Clarification of June 12, 2022 Discovery Order (Dkt. 700) (“Google’s Supplement”) and the

 9 proposed order related to Google’s Supplement (the “Proposed Order”). In making this request,
10 Google has carefully considered the relevant legal standard and policy considerations outlined in

11 Civil Local Rule 79-5. Google makes this request with the good faith belief that the information

12 sought to be sealed consists of Google’s confidential and proprietary information and that public

13 disclosure could cause competitive harm.

14          3.      The information requested to be sealed contains Google’s confidential and
15 proprietary information regarding highly sensitive features of Google’s internal systems and

16 operations, including logs and their proprietary functionalities, that Google maintains as confidential

17 in the ordinary course of its business and is not generally known to the public or Google’s

18 competitors.

19          4.      Such confidential and proprietary information reveals Google’s internal strategies,
20 system designs, and business practices for operating and maintaining many of its important services,

21 and falls within the protected scope of the Protective Order entered in this action. See Dkt. 81 at 2-

22 3.

23          5.      Public disclosure of such confidential and proprietary information could affect
24 Google’s competitive standing as competitors may alter their identifier system designs and practices

25 relating to competing products. It may also place Google at an increased risk of cyber security

26 threats, as third parties may seek to use the information to compromise Google’s data sources,
27 including data logs and internal data structures.

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 1         6.     For these reasons, Google respectfully requests that the Court order Google’s

 2 Supplement ”) and the Proposed Order to be filed under seal.

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 4         I declare under penalty of perjury of the laws of the United States that the foregoing is true

 5 and correct. Executed in San Francisco, California on June 16, 2022.

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 7 DATED: June 16, 2022                        QUINN EMANUEL URQUHART &
                                               SULLIVAN, LLP
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10                                               By          /s/ Jonathan Tse
                                                      Jonathan Tse
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                                                      Attorney for Defendant
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                                             TSE DECLARATION ISO ADMINISTRATIVE MOTION TO SEAL
